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                                              Eric S. Poe
                                              ATTORNEY AT LAW
                                         214 CARNEGIE CENTER BLVD.
                                                   SUITE 301
                                         PRINCETON, NEW JERSEY 08540




                                             Telephone (609) 520-3067
  'Admitted NJ                                Telefax (866) 847-6999
  Certified Public Accountant in MD         email: epoe@epoelaw.com


                                                                                       March 29, 2010

  Via ECF System and U.S. Mail
  The Honorable William J. Martini, United States District Judge
  Martin Luther King, Jr. Federal Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

  Re:         Emergency Physicians of St. Clare’s, LLC, et al. v. ProAssurance Corporation, et al.
              Docket No. 09-cv-6244

  Dear Judge Martini:

          We represent plaintiffs, Emergency Physicians of St. Clare’s LLC, Mercer Bucks
  Orthopedics, PC and Pascack Emergency Services. On March 22, 2010, plaintiffs filed their
  opposition to defendants’ motion to compel arbitration or, in the alternative dismiss the
  complaint. Plaintiffs’ counsel have since discovered typographical and pagination errors in
  plaintiffs’ opposition brief. Plaintiffs’ counsel has requested, and defendants’ counsel has
  agreed, to allow plaintiffs’ counsel to file a corrected or amended brief. The amended brief does
  not include any substantive changes. Please find the amended brief attached.

                                                             Respectfully submitted,

                                                             /s/ Eric Poe

                                                             Eric Poe, Esq.

  Enclosure

  Cc: w/enc. via ECF System: Michael Dinger (counsel for defendants)
